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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                        )
MATTHEW GREEN ET AL.,                                   )
                                                        )
                Plaintiffs,                             )       Civil Action No. 1:16-cv-1492-EGS
                                                        )
                        v.                              )       Judge: Emmet G. Sullivan
                                                        )
U.S. DEPARTMENT OF JUSTICE ET AL.,                      )
                                                        )
                Defendants.                             )


               JOINT STATUS REPORT PURSUANT TO MINUTE ORDER

        Pursuant to this Court’s Minute Order dated July 24, 2019, the parties have conferred and

respectfully submit the following Joint Status Report, setting forth their proposal for further

proceedings.

        The parties believe the remaining issues in the case can be resolved by cross motions for

summary judgment and tentatively agree with the Court that an efficient resolution of this matter

can be achieved by consolidation of Plaintiffs’ motion for preliminary injunction with briefing

on cross motions for summary judgment. However, Defendants have asserted that they need

more time to identify the discovery they wish to request and produce for their defense of the

case.1 In addition, Plaintiffs have asserted that one of the plaintiffs is currently out of the

country, potentially leading to delays in discovery. Defendants and Plaintiffs jointly recognize

that burdensome discovery proceedings would be unnecessary if the parties can agree to a

statement of stipulated facts. Consequently, the parties have agreed, and respectfully propose,




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  Among other things, undersigned counsel for Defendants has four dispositive motion briefing
deadlines as well as a hearing scheduled in five other cases during the next four weeks.
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that they meet and confer and attempt to agree to a statement of stipulated facts by August 29,

2019. The parties believe that this process could either obviate the need for any discovery or be

an efficient means for the parties to identify and/or narrow the issues requiring discovery, and

thus is likely either way to allow for more efficient proceedings.

       If the parties cannot agree to a statement of stipulated facts at that time, the parties will

confer and seek to agree to a schedule for expedited discovery and for consolidated preliminary

injunction and summary judgment briefing. The parties therefore propose that they will file a

joint status report on August 29, 2019, notifying the Court whether they have agreed to a

statement of stipulated facts and plan to follow the briefing schedule set forth below, or whether

they have agreed on an alternative proposal for further proceedings.

       If the parties can agree to a set of stipulated facts, the parties have agreed to the following

briefing schedule on the parties’ dispositive motions:

 August 29, 2019                        Parties will submit a Joint Status Report concerning
                                        whether the parties have agreed to a statement of
                                        stipulated facts.

 September 19, 2019                     If the parties have agreed to a set of stipulated facts,
                                        Plaintiffs will file their consolidated motion for summary
                                        judgment and motion for preliminary injunction.

 October 17, 2019                       Defendants will file their consolidated opposition to
                                        Plaintiffs’ motion and cross motion for summary
                                        judgment.

 November 7, 2019                       Plaintiffs will file their consolidated reply in support of
                                        Plaintiffs’ consolidated motion and opposition to
                                        Defendants’ cross motion for summary judgment.

 November 21, 2019                      Defendants will file their reply in support of their cross
                                        motion for summary judgment.




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July 29, 2019                       Respectfully submitted,

                                    /s/ Brian M. Willen
                                    BRIAN M. WILLEN (D.C. Bar No. 490471)
                                    WILSON SONSINI GOODRICH & ROSATI
                                    Professional Corporation
                                    1301 Avenue of the Americas
                                    40th Floor
                                    New York, NY 10019
                                    (212) 999-5800

                                    JOSEPH H. HUNT
                                    Assistant Attorney General
                                    ERIC R. WOMACK
                                    Assistant Director, Federal Programs Branch

                                    /s/ Kathryn L. Wyer
                                    KATHRYN L. WYER
                                    U.S. Department of Justice, Civil Division
                                    1100 L Street, N.W., Room 12014
                                    Washington, DC 20005
                                    Tel. (202) 616-8475 / Fax (202) 616-8470
                                    kathryn.wyer@usdoj.gov
                                    Attorneys for Defendants




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